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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION


SARAH DIEKMAN,

         Plaintiff,

v.                                             Case No.: 1:19-cv-00227-AW-GRJ

THE UNIVERSITY OF FLORIDA BOARD
OF TRUSTEES,

     Defendant.
____________________________________/

                        JOINT NOTICE OF SETTLEMENT

         Defendant, the University of Florida Board of Trustees, and Plaintiff, Sarah

Diekman, by and through their undersigned counsel, hereby give notice to the

Court that the above styled action has been resolved including all claims alleged in

the Amended Complaint against Defendant.

         Dated this 18th day of November, 2020.




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                                           Respectfully submitted,

UNICE, SALZMAN, JENSEN                        ALEXANDER DEGANCE BARNETT

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